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            MANDATORY REQUIREMENTS FOR CASE MANAGEMENT PLAN

       The following instructions, along with Judge Gonzalez’s Individual Practices available

on the Court’s public website (https://www.nyed.uscourts.gov/pub/rules/HG-MLR.pdf), shall

apply to this case:

       1.        Plaintiff’s counsel shall notify all attorneys in this action in writing of this order.

       2.        The parties shall file on the docket a completed Case Management Plan using the

attached form on or before April 7, 2023.

       3.        Pursuant to Fed. R. Civ. P. 26(f), counsel for the parties shall confer about a

proposed discovery plan at least 21 days before the deadline for submitting the Case

Management Plan.

       4.        The Court expects the parties’ Case Management Plan to provide for: (i) the

completion of fact discovery a maximum of 90 days after the filing of the Case Management

Plan and (ii) the completion of any expert discovery a maximum of 60 days after the end of fact

discovery, unless the Court finds that the case presents unique complexities or other exceptional

circumstances.

       5.        On or before the deadline for submitting the Case Management Plan, counsel are

directed to file on the docket, on a without prejudice basis, a joint letter no longer than five pages

describing the case, including the factual, jurisdictional, and legal basis for the claim(s) and

defense(s). The letter shall also describe any contemplated motions and any other topics that a

party wants to bring to the Court’s attention.

       6.        The Magistrate Judge assigned to this case is Magistrate Judge Robert M. Levy.

The letter described in the previous paragraph shall indicate whether the parties unanimously

agree to Judge Gonzalez’s referral of this case for a settlement conference before Magistrate
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Judge Levy or to the Eastern District of New York’s Court-Annexed Mediation program.

Information related to this mediation program is available on the Court’s public website

(https://www.nyed.uscourts.gov/mediation). If the parties agree to such a referral, their letter

shall indicate approximately when they believe a settlement conference or mediation session

should be held. If the parties do not unanimously agree to such a referral, their letter shall not

identify which party or parties did or did not so agree.

       7.      Defendant’s portion of the letter described in the previous paragraphs may not

assert a general denial, boilerplate affirmative defenses, or a need for further investigation, but

must engage with the issues in the case. Failure to comply with these instructions may result in

the imposition of sanctions under Fed. R. Civ. P. 16(f).

       8.      Requests for adjournment of the deadline for submitting the Case Management

Plan and joint letter will be considered only if made in writing and otherwise in accordance with

Section I.D of Judge Gonzalez’s Individual Practices.

       9.      Consent to Proceed Before Magistrate Judge. If all parties consent to

conducting all further proceedings in this case, including motions and trial with or without a jury,

before Magistrate Judge Levy pursuant to 28 U.S.C. § 636(c), they shall execute and file by ECF

the consent form (ECF No. 3) on the deadline specified above for filing the Case Management

Plan. The parties may alternatively consent to conduct all further proceedings before a different

Magistrate Judge, and a random Magistrate Judge will be selected according to the Eastern

District of New York’s Local Civil Rule 73.1(b). If the parties consent to conducting further

proceedings before a Magistrate Judge, then the parties need not file a joint letter or a Case

Management Plan unless directed to do so by the Magistrate Judge.




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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------x

 [PLAINTIFF],

                                     Plaintiff[s],               CIVIL CASE MANAGEMENT PLAN

                                                                 ___-cv-_____ (HG)
                             -against-

 [DEFENDANT],

                                     Defendant[s].

-------------------------------------------------------------x

HECTOR GONZALEZ, United States District Judge:

         After consultation with counsel for the parties, the following Case Management Plan is

adopted. This plan is also a scheduling order pursuant to Federal Rules of Civil Procedure 16

and 26(f). The parties should not anticipate extensions of the deadlines specified in this order

and shall not make a unilateral decision to stay or halt discovery on the basis of settlement

negotiations, or for any other reason, in anticipation of an extension.

         1.       Fact Discovery

                  a.       The parties are to conduct discovery in accordance with the Federal Rules

                           of Civil Procedure and the Local Rules of the Eastern District of New

                           York. All fact discovery is to be completed by _______________, which

                           date shall not be adjourned except upon a showing of good cause and

                           further order of the Court.

                  b.       The parties shall list the contemplated discovery activities and anticipated

                           completion dates in Attachment A, annexed hereto. Interim deadlines for
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               these discovery activities may be extended by the parties on consent

               without application to the Court, provided the parties are certain that they

               can meet the discovery completion date.

         c.    For all causes of action seeking monetary damages, each party shall

               identify and quantify in Attachment B, annexed hereto, each component of

               damages alleged; or, if not known, specify and indicate by what date

               Attachment B shall be filed providing such information.

         d.    Any motion to amend pleadings or to join additional parties not allowed as

               of right pursuant to the Federal Rules of Civil Procedure must be raised

               through a pre-motion letter that complies with Section IV.A of the Court’s

               Individual Practices by _______________.

   2.    Expert Discovery

         a.    The parties agree that there [is ___ / is not ___ ] a need for expert

               discovery.

         b.    All expert discovery is to be completed by _______________, which date

               shall not be adjourned except upon a showing of good cause and further

               order of the Court.

         c.    If the parties agree that there is no need for expert discovery, all discovery

               shall be completed by the deadline for fact discovery, unless – prior to that

               date – a party files a motion seeking an extension for purposes of taking

               expert discovery, which must comply with Section I.D of the Court’s

               Individual Practices. Any such motion should explain why expert




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               discovery has become necessary and propose a schedule for such

               discovery.

   3.    Post-Discovery Motions

         a.    Ten business days after the completion of fact or expert discovery,

               whichever occurs later, the parties shall file pre-motion letters related to

               any proposed motions for summary judgment or motions to exclude the

               testimony of experts pursuant to Rules 702-705 of the Federal Rules of

               Evidence and the Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S.

               579 (1993) line of cases.

         b.    Any such pre-motion letters shall comply with Section IV.A of this

               Court’s Individual Practices, including the requirement that any such

               letters related to a motion for summary judgment contain the statement of

               material facts required by the Eastern District of New York’s Local Civil

               Rule 56.1.

         c.    There shall be no cross-motions. Any motions not raised in a pre-motion

               letter by the deadline specified above will not be considered. The papers

               served and filed pursuant to any motions allowed by the Court shall

               comply with the requirements in Section IV.B of this Court’s Individual

               Practices.

   4.    Pre-Trial Submissions

         a.    The case [is ___ / is not ___ ] to be tried to a jury.

         b.    The parties shall submit to the Court for its approval a Joint Pretrial Order

               containing the content described in Section VI.B of the Court’s Individual



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                    Practices either: (a) within 60 days after the completion of fact or expert

                    discovery, whichever occurs later, or (b) if a post-discovery motion

                    described in Paragraph 3 of this order has been filed, within 30 days after

                    a decision on such motion.

             c.     The parties shall file any motions in limine 30 days in advance of trial in

                    accordance with Section VI.C of the Court’s Individual Practices.

             d.     The parties shall file any requests to charge, proposed verdict sheets, and

                    proposed voir dire questions 10 business days in advance of trial in

                    accordance with Section VI.C of the Court’s Individual Practices.

      5.     This order may not be modified or the dates herein extended, except by further

             order of this Court requested in accordance with Section I.D of the Court’s

             Individual Practices. Requests for extensions will ordinarily be denied if made

             after the expiration of the original deadline. Further, the use of any alternative

             dispute resolution mechanism does not stay or modify any date in this order.

             Indeed, unless the Court orders otherwise, parties engaged in settlement

             negotiations must proceed on parallel tracks, pursuing settlement and conducting

             discovery simultaneously. Parties should not assume that they will receive an

             extension of an existing deadline if settlement negotiations fail.

SO ORDERED.


                                                                                            .
                                                       HECTOR GONZALEZ
                                                      United States District Judge
Dated: Brooklyn, New York

                      ., 20   .



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                                       ATTACHMENT A

        DISCOVERY ACTIVITIES            COMPLETION DATE
                  PRELIMINARY DISCOVERY MATTERS
[If applicable] Initial disclosures required by       [Absent exceptional circumstances, a date not
Fed. R. Civ. P. 26(a)(1)                              more than 14 days following the parties’
                                                      filing of the Case Management Plan.]

[If applicable] HIPAA-required medical                [Absent exceptional circumstances, a date not
records release authorizations                        more than 14 days following the parties’
                                                      filing of the Case Management Plan.]

[If applicable] N.Y. Crim. Proc. Law
§ 160.50 releases for arrest records


[If applicable] Identification of John Doe/Jane
Doe Defendants


[If applicable] Procedures for producing
Electronically Stored Information (ESI)
discussed

[If applicable] Confidentiality order to be
submitted for court approval


                                     SETTLEMENT PLAN
Plaintiff to make settlement demand by:



Defendant to make settlement offer by:



Referral to EDNY mediation program
pursuant to Local Rule 83.8? (If yes, enter
date for mediation to be completed)

Settlement conference (proposed date)




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                                DISCOVERY DEADLINES
Motion to join new parties or amend
pleadings
(cannot be adjourned except by Court order)
Service of requests for production and
interrogatories

Response to requests for production and
interrogatories

Service of requests for admissions


Response to requests for admissions


Service of contention interrogatories


Response to contention interrogatories


Completion of fact witness depositions


Completion of fact discovery                      [Absent exceptional circumstances, a date not
(cannot be adjourned except by Court order)       more than 90 days following the parties’
                                                  filing of the Case Management Plan.]

Completion of expert discovery, including         [Absent exceptional circumstances, a date not
production of reports and related documents       more than 60 days following the completion
and depositions                                   of fact discovery.]
(cannot be adjourned except by Court order)


                CONSENT TO MAGISTRATE JUDGE JURISDICTION
Parties consent to conducting all further
proceedings in this case, including motions         Yes
and trial with or without a jury, before a          No
Magistrate Judge pursuant to 28 U.S.C. §
636(c)



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           COLLECTIVE ACTION AND CLASS ACTION MOTIONS ONLY
Motion for collective action certification in
FLSA cases (specify deadlines for response
and reply)
Motion for Rule 23 class certification (specify
deadlines for response and reply)




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                                      ATTACHMENT B

For all causes of action seeking monetary damages, each party shall identify and
quantify each component of damages alleged:


1.       PLAINTIFF’S CLAIMS:




2.       COUNTERCLAIMS AND CROSS-CLAIMS:




3.       THIRD-PARTY CLAIMS:




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